Case 1:03-cr-00304-CBA   Document 669   Filed 07/08/05   Page 1 of 7 PageID #: 2612
Case 1:03-cr-00304-CBA   Document 669   Filed 07/08/05   Page 2 of 7 PageID #: 2613
Case 1:03-cr-00304-CBA   Document 669   Filed 07/08/05   Page 3 of 7 PageID #: 2614
Case 1:03-cr-00304-CBA   Document 669   Filed 07/08/05   Page 4 of 7 PageID #: 2615
Case 1:03-cr-00304-CBA   Document 669   Filed 07/08/05   Page 5 of 7 PageID #: 2616
Case 1:03-cr-00304-CBA   Document 669   Filed 07/08/05   Page 6 of 7 PageID #: 2617
Case 1:03-cr-00304-CBA   Document 669   Filed 07/08/05   Page 7 of 7 PageID #: 2618
